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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO
Judge Wi||iam J. Martinez
Criminal Case No. 14-cr-00362-WJN|
UN|TED STATES OF A|V|ER|CA,
P|aintiff,
v.

4. JEREMY EDWARD WORT|V|AN,

Defendant.

 

ORDER

 

PURSUANT to and in accordance With the order entered by Judge Wi||iam J.

|V|artinez, it is

ORDERED that Defendant Jeremy Edward Wortman is sentenced to T|lV|E

SERVED.

   
 

Dated at Denver, Co|orado, this 10th of Ju|y 2015.

 
   

 

Mdgewima Mart£nez
United States District Judge

